        Case: 1:18-cv-00195 Document #: 1 Filed: 01/10/18 Page 1 of 7 PageID #:1



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 NANCY BROWN,
                                                        CIVIL ACTION
      Plaintiff,

 v.                                                     COMPLAINT 1:18-cv-00195

 SHELLPOINT MORTGAGE
 SERVICING, LLC,                                        JURY TRIAL DEMANDED

      Defendant.

                                          COMPLAINT

        NOW COMES the Plaintiff, NANCY BROWN, by and through her attorneys,

SULAIMAN LAW GROUP, LTD., complaining of the Defendant, SHELLPOINT MORTGAGE

SERVICING, LLC, as follows:

                                     NATURE OF THE ACTION

1.      This is an action brought by a consumer seeking redress for violation(s) of the Fair Debt

        Collection Practices Act, 15 U.S.C. 1692 et. seq. (“FDCPA”).

2.      There is abundant evidence of the use of abusive, deceptive, and unfair debt collection

        practices by many debt collectors. Abusive debt collection practices contribute to the

        number of personal bankruptcies, to marital instability, to the loss of jobs, and to invasions

        of individual privacy. 15 U.S.C. § 1692a.

3.      It is the purpose of [the FDCPA] to eliminate abusive debt collection practices by debt

        collectors, to insure that those debt collectors who refrain from using abusive debt

        collection practices are not competitively disadvantaged, and to promote consistent State

        action to protect consumers against debt collection abuses. Id.


                                                  1
      Case: 1:18-cv-00195 Document #: 1 Filed: 01/10/18 Page 2 of 7 PageID #:2



                                  JURISDICTION AND VENUE

4.    Subject matter jurisdiction exists over the FDCPA claim(s) under 15 U.S.C. § 1692k(d)

      and 28 U.S.C. §§ 1331 and 1337.

5.    Venue is proper under 28 U.S.C. § 1391(b) as a substantial part of the events giving rise to

      the claims took place in the Northern District of Illinois.

                                            PARTIES

6.    NANCY R. BROWN (“Brown”) is a natural person, over 18-years-of-age, who at all times

      relevant resided at the property commonly known as 143 Carolyn Drive, Columbus,

      Missouri 39702-8900.

7.    Brown is a “consumer” as defined by 15 U.S.C. § 1692a(3).

8.    SHELLPOINT MORTGAGE SERVICING, LLC (“Shellpoint”) manages mortgage loans.

      The company represents various lenders.          It offers solutions for loan foreclosure,

      repayment plan, unemployment forbearance, loan modification, home affordable

      modification program, and short sale. The company was formerly known as Resurgent

      Mortgage Servicing. As a result of the acquisition of Resurgent Mortgage Servicing by

      New Penn Financial, LLC, Resurgent Mortgage Servicing’s name was changed. The

      company is based in Greenville, South Carolina with an additional office in Houston,

      Texas. As of March 3, 2014, Shellpoint operates as a subsidiary of New Penn Financial,

      LLC.

9.    Shellpoint is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

10.   Shellpoint uses instrumentalities of interstate commerce and the mail in its business – the

      principal purpose of which is the collection of debt owed or due or asserted to be owed or

      due another.

                                                2
      Case: 1:18-cv-00195 Document #: 1 Filed: 01/10/18 Page 3 of 7 PageID #:3



                                    FACTUAL ALLEGATIONS

11.   On April 20, 2007, Brown executed a mortgage in favor of First Magnus Financial

      Corporation to secure a note in the amount of $150,500.00 (“mortgage loan”) to finance

      the purchase of the property located at 7715N Hermitage Avenue, Apartment 2J, Chicago,

      Illinois 60626 (“property”). The property served as Brown’s principal residence.

12.   On or about February 1, 2014, having suffered financial hardship, Brown defaulted on her

      mortgage loan.

13.   On February 28, 2014, Brown filed a voluntary petition for relief under Chapter 13 of the

      Bankruptcy Code.

14.   The schedules filed by Brown listed Ocwen Loan Servicing, LLC on Schedule D -

      Creditors Holding Secured Claims.

15.   The plan filed by Brown provided for the surrender of the property to Ocwen Loan

      Servicing, LLC in full satisfaction of their secured claim.

16.   On or before July 10, 2015, First Magnus Financial Corporation assigned and transferred

      all its rights, title and interests to Residential Credit Solutions, Inc. (“RCS”).

17.   On or before July 8, 2016, RCS assigned and transferred all its rights, title and interests to

      Ditech Financial LLC (“Ditech”).

18.   On July 21, 2016, Brown was granted an order of discharge pursuant to section 1328(a) of

      the Bankruptcy Code.

19.   The order of discharge prohibited creditors from attempting to collect Brown’s mortgage

      loan from Brown personally.

20.   On or before September 16, 2017, Ditech assigned and transferred all its rights, title and

      interests to Shellpoint.

                                                 3
      Case: 1:18-cv-00195 Document #: 1 Filed: 01/10/18 Page 4 of 7 PageID #:4



21.   On September 26, 2017, Shellpoint sent Brown a “Welcome Letter”, with a payment

      coupon attached, which provided that the “Monthly Payment Amount” was $739.91 and

      the “First Payment Due Date” was 02/01/2014. See Exhibit A, a true and correct copy of

      the Welcome Letter.

22.   This Welcome Letter consists of five pages on Shellpoint letterhead, includes a payment

      coupon, and seven pages of attachments.

23.   In the body of the Welcome Letter, Shellpoint notified Brown that Shellpoint had become

      her mortgage loan servicer: The text begins: “Shellpoint would like to welcome and inform

      you that effective 09/16/2017, the servicing of your loan has transferred or will transfer

      from Ditech to Shellpoint.”

24.   Further, it informed Brown that her loan number has been changed and instructed her that

      “[o]n or before September 16, 2017, your payments should be made payable to Shellpoint.”

25.   The Welcome Letter’s eleventh page (the seventh page of the attachment) plays a pivotal

      role here, and provides, in pertinent part: “This is an attempt to collect a debt and any

      information obtained will be used for that purpose. This communication is from a debt

      collector.”

                                          DAMAGES

26.   Shellpoint’s unlawful collection activity has resulted in severe injury to Brown in the form

      of aggravation, confusion, and frustration – as Brown was led to believe that the filing of

      her bankruptcy case had no legal effect.




                                                 4
      Case: 1:18-cv-00195 Document #: 1 Filed: 01/10/18 Page 5 of 7 PageID #:5



                            COUNT I – VIOLATION(S) OF THE FDCPA
                15 U.S.C. § 1692e(2) – FALSE OR MISLEADING REPRESENTATIONS

27.   All paragraphs of this Complaint are expressly adopted and incorporated herein as though

      fully set forth herein.

28.   The mortgage loan is a “debt” as defined by 15 U.S.C. § 1692a(5).

29.   Shellpoint is attempting to collect a debt used for “household purpose” as defined by 15

      U.S.C. § 1692a(5).

30.   Section 1692e(2) prohibits “the false representation of the character, amount, or legal status

      of any debt.”

31.   A demand for immediate payment while a debtor is in bankruptcy is “false” in the sense

      that it asserts that money is due, although, because of the automatic stay (11 U.S.C. § 362)

      or the discharge injunction (11 U.S.C. § 524), it is not. Randolph v. IMBS, Inc., 368 F.3d

      726, 728 (7th Cir. 2004).

32.   Shellpoint violated 15 U.S.C. § 1692e(2) by falsely representing that the mortgage loan

      was due at the time the Welcome Letter was sent.

33.   Brown may enforce the provisions of 15 U.S.C. § 1692e(2) pursuant to section k of the

      FDCPA (15 U.S.C. § 1692k) which provides "any debt collector who fails to comply with

      any provision of [the FDCPA] with respect to any person is liable to such person in an

      amount equal to the sum of -

      (1)     any actual damage sustained by such person as a result of such failure;

      (2)

              (A)     in the case of any action by an individual, such additional damages
                      as the court may allow, but not exceeding $1,000.00; or



                                                5
      Case: 1:18-cv-00195 Document #: 1 Filed: 01/10/18 Page 6 of 7 PageID #:6



      (3)     in the case of any successful action to enforce the foregoing liability, the
              costs of the action, together with reasonable attorney's fees as determined
              by the court.

      WHEREFORE, Brown requests the following relief:

      a.      find that Shellpoint violated 15 U.S.C. § 1692e(2);

      b.      award actual, and statutory damages, and costs of this action including expenses

              together with attorneys’ fees as determined by this Court; and

      c.      grant any other relief deemed appropriate and equitable.

                            COUNT II –VIOLATION(S) OF THE FDCPA
               15 U.S.C. § 1692e(10) – FALSE OR MISLEADING REPRESENTATIONS

34.   All paragraphs of this Complaint are expressly adopted and incorporated herein as though

      fully set forth herein.

35.   Section 1692e(10) prohibits “the use of any false representation or deceptive means to

      collect or attempt to collect any debt.”

36.   Shellpoint violated 15 U.S.C. § 1692e(10) by falsely representing to Brown in the

      Welcome Letter that the mortgage loan was due.

37.   Brown may enforce the provisions of 15 U.S.C. § 1692e(10) pursuant to section k of the

      FDCPA (15 U.S.C. § 1692k) which provides "any debt collector who fails to comply with

      any provision of [the FDCPA] with respect to any person is liable to such person in an

      amount equal to the sum of -

      (1)     any actual damage sustained by such person as a result of such failure;

      (2)

              (A)     in the case of any action by an individual, such additional damages
                      as the court may allow, but not exceeding $1,000.00; or



                                                 6
      Case: 1:18-cv-00195 Document #: 1 Filed: 01/10/18 Page 7 of 7 PageID #:7



       (3)    in the case of any successful action to enforce the foregoing liability, the
              costs of the action, together with reasonable attorney's fees as determined
              by the court.

       WHEREFORE, Brown requests the following relief:

       a.     find that Shellpoint violated 15 U.S.C. § 1692e(10);

       b.     award actual, and statutory damages, and costs of this action including expenses

              together with attorneys’ fees as determined by this Court; and

       c.     grant any other relief deemed appropriate and equitable.

Plaintiff demands trial by jury.

January 10, 2018                                           Respectfully submitted,

                                                           /s/ Joseph Scott Davidson

                                                           Joseph Scott Davidson
                                                           Mohammed Omar Badwan
                                                           SULAIMAN LAW GROUP, LTD.
                                                           2500 South Highland Avenue
                                                           Suite 200
                                                           Lombard, Illinois 60148
                                                           +1 630-575-8181
                                                           jdavidson@sulaimanlaw.com
                                                           mbadwan@sulaimanlaw.com

                                                           Counsel for Nancy R. Brown




                                               7
